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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:14CR409

      vs.
                                                             MEMORANDUM
DILANG DAT                                                    AND ORDER

                    Defendant.


      This matter is before the Court on the Motion to Set Aside Order Denying Relief

Pursuant to Rule 60(b) and Request for Leave to Amend Original § 2255 Motion to

Vacate, Set Aside, or Correct Sentence, ECF No. 360, filed by the Defendant, Dilang

Dat. In its Memorandum and Order, ECF No. 354, the Court summarily dismissed the

Defendant’s Motion to Vacate, Set Aside, or Correct his Sentence pursuant to 28 U.S.C.

§ 2255, ECF No. 342.        The Defendant asserts the Court’s dismissal was in error

because he was not granted an evidentiary hearing and the Government was not

required to show cause why his § 2255 Motion should not be granted. The Defendant

also requests leave to amend his § 2255 Motion in order to further support his

ineffective assistance of counsel claim. The Defendant’s Rule 60(b) Motion has been

carefully considered and the Court finds that it should be denied.

      IT IS ORDERED that the Defendant’s Motion to Set Aside Order Denying Relief

Pursuant to Rule 60(b) and Request for Leave to Amend Original § 2255 Motion to

Vacate, Set Aside, or Correct Sentence, ECF No. 360, is denied.

      Dated this 26th day of October, 2017.
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                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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